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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


 TRACY CONNER,
                                          Plaintiff,
                                                       COMPLAINT AND DEMAND FOR JURY TRIAL
                           v.

 UNIVERSITY OF MASSACHUSETTS-                          Civil Action No. 1:18-cv-11693
 AMHERST,
                         Defendant.


                                PARTIES, JURISDICTION AND VENUE

      1.    The plaintiff, Tracy Conner (“Ms. Conner”), resides in Frisco, Texas. She is currently

enrolled in the Department of Linguistics in the defendant University of Massachusetts at

Amherst (“UMass-Amherst” or “the University”), as a graduate student pursuing her doctorate in

linguistics.

       1.      Ms. Conner is a female African-American and suffers from dyslexia, a disability

within the meaning of the Americans with Disabilities Act, 42 U.S.C. § 12102(1); see also 29

C.F.R. § 1630.2(g)(1).

      2.    The defendant UMass-Amherst is a public educational institution, part of the higher

education system of the Commonwealth of Massachusetts, with its principal campus in Amherst,

Hampshire County. It receives federal financial assistance within the meaning of Title VI of the

Civil Rights Act of 1964.

      3.    Ms. Conner timely filed a complaint with the Massachusetts Commission Against

Discrimination, Docket No. 17-SED-01109, alleging that UMass unlawfully discriminated

against her on account of her gender, race, color and disability. Ms. Conner, by her counsel,

withdrew her complaint on or about October 27, 2017, so as to bring the instant action.
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      4.   This is a civil rights action arising under 42 U.S.C. § 1983. Jurisdiction over the

federal civil rights claim is pursuant to 28 U.S.C. § 1331. Jurisdiction over other state law

claims connected with the same transaction is pursuant to 28 U.S.C. § 1367.

      5.   Although a state actor for the purpose of the Fifth and Fourteenth Amendments to the

Constitution of the United States and the federal statutes enacted for the enforcement of the

rights recognized therein, UMass-Amherst is not an “arm of the state” immune to suit under the

Eleventh Amendment.

                             FACTS COMMON TO ALL COUNTS

      6.   Ms. Conner graduated from Stanford University with a bachelor’s degree in

Linguistics in 2006 and a Masters in Sociology in 2007. She completed her Masters in

Communication Disorders from UMass-Amherst in 2010, earning her certification as a licensed

speech therapist. Ms. Conner worked as a speech therapist before until enrolling as a graduate

student at UMass Amherst.

      7.    Ms. Conner was accepted as a doctoral candidate in the Linguistics Department of

UMass-Amherst (the “Department”) in 2010. The University anticipated that the program would

take five to six years to complete, and Ms. Conner received funding for that period in the form of

teaching and research stipends. In 2011, Ms. Conner was awarded a UMass Diversity Fellowship

after being nominated by Prof. Joe Pater, now Chair of the Department. The fellowship provided

a year of funding with no teaching responsibilities.

      8.   During the 2013-2014 school year, Ms. Conner was awarded sixth-year funding to

support a further year of study of experimental methods and statistics to acquire additional skills

in the design of research projects and the validation and interpretation of research data.




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       9.   During the academic year 2015-16, Ms. Conner successfully completed all of the

Department’s requirements for a doctorate in linguistics, completing two “Generals Papers,” each

a one-year project, and completing all coursework. The Generals Papers were intended to, and

did, establish the framework for Ms. Conner’s research program further developed in her

dissertation.

       10. On the strength of Ms. Conner’s published 2014 article and her academic record in

 general, and in anticipation of the successful defense of her dissertation, the University of

 Kentucky offered Ms. Conner a two-year post-doctoral fellowship to begin on September 1,

 2016, with the promise of a tenure track position thereafter.

       11. The department’s approval of her two Generals Papers meant that Ms. Conner had

“demonstrate[d] an ability to discover an interesting topic of appropriate size, knowledge of the

appropriate literature and the ability to work within a theoretical framework, clear exposition, and

originality,” DOCTORAL STUDENT HANDBOOK OF POLICIES AND REGULATIONS (June 2, 2016.)

       12. Ms. Conner thus became eligible for the formation of a Doctoral Dissertation

Committee to oversee her doctoral thesis. The Committee was appointed in the fall of 2014. The

Chairs of the Committee were Dr. Kyle Johnson and Dr. Lisa Green. The other members from the

Linguistics Department were Profs. Tom Roeper and Jeremy Hartman. In accordance with the

regular practice a member from outside the department was appointed—Dr. Jill Hoover from the

Department of Communication Disorders.

       13. On December 22, 2015 Ms. Conner submitted, and the Committee subsequently

approved, a dissertation prospectus describing the research she planned to conduct, analyze and

present. The proposed subject was “ellipsis licensing” and the manner in which usage in African-




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American English (“AAE”), as determined through research in the field, might inform current

linguistics theory concerning ellipsis.

       14. In fact, Ms. Conner had completed most of her work on the dissertation at the time the

prospectus was filed. Ms. Conner had conducted extensive field research with informants in

Mississippi and elsewhere. Her preliminary analysis of the results was published in an article that

appeared in December, 2014 entitled “Heads Must Be Heard: Overtness and Ellipsis Licensing,”

in the academic volume PARENTHESIS AND ELLIPSIS: CROSS-LINGUISTIC AND THEORETICAL

PERSPECTIVES. The article contained material very similar to the introduction, experimental data

and analysis sections of Ms. Conner’s dissertation in progress. Professors Johnson and Green,

later members of Ms. Conner’s Dissertation Committee, reviewed and commented upon the

content of the article before its publication.

       15. On or about May 27, 2016, the Dissertation Committee fixed the date for Ms.

Conner’s oral defense of her thesis as August 3, 2016. According to the University, “[w]hen, in

the judgment of the committee, the student has a draft that is sufficiently complete to be able to

defend, a defense is scheduled,” UMass-Amherst MCAD Position Statement at 2. Thus fixing the

date of the defense was an acknowledgement that the draft was “sufficiently complete to be able

to defend.”

       16. As the Committee members were already substantially familiar with the contents of

the thesis from Ms. Conner’s previously published article, they indicated that the defense would

focus on the updated analysis section only. By July 9, 2016, Ms. Conner had submitted such

chapter of her thesis to Prof. Johnson and Prof. Green.

       17. However, Lisa Green and Kyle Johnson told Ms. Conner at a meeting on July 15, 2016

that she would not be permitted to defend her dissertation on August 3, the date originally fixed,



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because they had not seen the text of the entire dissertation. They encouraged her to postpone the

defense so she would have more time to revise before leaving for her new position at the

University of Kentucky, see infra ¶ 46. The defense date was supposedly moved to August 25,

2016.

         18. Ms. Conner submitted the entire text of the dissertation with the requested revisions on

July 19, 2016. On that day she met again with Drs. Johnson and Green. For the first time they

raised concerns about the contests of the dissertation. Prof. Johnson in particular stated that the

analysis did not appear to be consistent with the discussions he “remembered” from the previous

year, although it was essentially the same as the analysis approved and published in December,

2014. Professors Johnson and Green reiterated these concerns at a July 22 meeting.

         19. By July 25, 2016 it appeared that Ms. Conner had satisfactorily addressed the

Committee’s concerns. In a meeting of the Committee on that date, all members stated that the

analysis was appropriate for defense and Dr. Johnson stated that he did not need to see another

draft.

         20. But by August 8, Prof. Johnson was objecting to the use of specific ellipsis data from

African-American English (“AAE”) rather than “standard” English to substantiate the analysis.

The point of Ms. Conner’s research was to show that AAE data had not been evaluated in the

ellipsis literature to date, and data from this variety of English provided the necessary linguistics

environments to understand a fundamental ingredient for ellipsis licensing that had not yet been

accessible in other languages.

         21. As the editing process continued through early August, Ms. Conner received

inconsistent feedback and directives from both Dr. Johnson and Dr. Green. Dr. Johnson also




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demanded that Ms. Conner “augment” the analysis in ways that would affect its viability. Prof.

Johnson refused at all times to put his concerns and recommendations in writing.

      22. On or before August 15, 2016, Prof. Green apparently canceled the defense with the

graduate school, informing Graduate Dean McCarthy via email, without telling Ms. Conner, that

the defense had been indefinitely postponed. Dr. Johnson and Prof. Green reached this decision

without informing, much less consulting, Prof. Hoover, the “external” member of the dissertation

committee.

      23. On that day, Ms. Conner met with Dean McCarthy, to express her concerns. To her

surprise, the Dean offered to help Ms. Conner to find funding “for the next several months,”

implying that the defense might not take place during that period.

      24. On the same date, Prof. Green took it on herself to inform the University of Kentucky

that Ms. Conner would be unable to start her new job on time because her defense had been

indefinitely postponed and began without authority to “negotiate” for a new start date with the

University of Kentucky. She did so without Ms. Conner’s written permission, in violation of the

Family Educational Rights and Privacy Act of 1974 (“FERPA”), 22 U.S.C. § 1232g, which

prohibits the release of confidential information concerning a student’s educational records. Her

intercession was also a wrongful interference with Ms. Conner’s advantageous contractual

relationship with the University of Kentucky.

      25. Ms. Conner was not explicitly informed that her defense had been canceled until

August 21, 2016, when she learned it from Prof. Tom Roeper. Prof. Green confirmed the

cancellation the next day.

      26. After the defense was canceled, Dr. Johnson continued to refuse further written

feedback, stating in an e-mail on August 16, 2016 that “It takes a lot of time.”. Dr. Johnson



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further reiterated his refusal when the Disability Office inquired whether they would be willing to

do so as an “accommodation.”

      27. Despite much effort and many meetings, Ms. Conner was unable to get her several

thesis drafts accepted or her defense scheduled by October 27, 2016, when Prof. Kyle was

“removed” from the dissertation committee for reasons unknown. Prof. Roeper eventually

informed Ms. Conner that Prof. Johnson had resigned because of his fears that Ms. Conner would

sue him for unlawful discrimination. In fact, Ms. Conner never intended or threatened to do so,

and has not included him in the instant action.

      28. As a practical matter, Prof. Johnson’s removal or resignation made a defense

impossible, because he was the only committee member with specific expertise in ellipsis, the

topic of Ms. Conner’s research. Ms. Conner made efforts to add Prof. Klaus Abels of the

University College of London, another ellipsis expert, to the Committee in his stead, but her

efforts were rebuffed by Lyn Frasier, the acting graduate program director.

      29. On July 24, 2017, Prof. Green also resigned from the Committee. On information and

belief, this was the same day she received a copy of Ms. Conner’s MCAD Complaint, see ¶ 3,

supra.

      30. On the following day, Prof. Roeper told Ms. Conner by e-mail that he would no longer

serve on the Committee if Prof. Green left. He went on to say that Prof. Green was “very much

upset” by the MCAD Complaint, suggesting that Ms. Conner had caused “acrimony” in the

Department and resolving it was her responsibility.

      31. The next day, July 26, Prof. Roeper e-mailed Ms. Conner to suggest that she read a

very polemical book about the unfairness of Title IX complaints by students and their terrible

consequences for those accused. “The book (90 pages of it) is a defense of Peter Ludlow . . .



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who lost his job at Northwestern and went broke because [of] really accusations by an

undergraduate—now lives in some poverty in Mexico. I know that both Lisa and Kyle are

afraid of the consequences of your legal moves. . . I think you should withdraw your complaints

and carefully apologize to both of them. That would be the best course for you and for

everyone.”

     32. In December 2017 Ms. Conner was negotiating with the assistance of counsel for her

reinstatement in the graduate program and the reconstitution of her Dissertation Committee. On

December 8, 2017 Prof. Roeper emailed her to say: “I am not sure it is possible for members of

our dept to be involved in a dissertation when a lawsuit exists in which they might be deposed on

issues related to its content. That is both a personal and a legal question.” (In fact, Ms. Conner

had never brought a “lawsuit” against the Department and the MCAD Complaint had already

been withdrawn.)

         Pattern of Disparate Outcomes for Female Ph.D. Candidates in the Linguistics
         Department.

     33. There is strong evidence of unlawful discrimination by the UMass-Amherst Linguistic

Department against female Ph.D candidates over many years. For those students who began

their studies between 2006 and 2012, 81 percent of male candidates (17 of 21) had successfully

completed their degrees as of 2018. During the same years, only 47 percent (8 of 17) female

candidates received their doctorates. These numbers do not include three students who left the

program during their first year, two of whom were women. Ms. Conner was the only African-

American woman accepted to the program during these years. Although there are international

students from diverse countries, every American enrolled in the program from 2012-2016 was

white.




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      34. More specifically, Professor Johnson refused to permit another female graduate

student to defend her dissertation after two years of additional work on her thesis under his

supervision. Another female student was forced to leave the program because two professors

specializing in semantics refused to oversee her second Generals paper, although she was in

good standing in every respect.

      35. These statistics were assembled by a group of 27 graduate students in linguistics.

They presented their findings to the Department by an anonymous letter on April 11, 2016. On

information and belief, no investigation has occurred, and no response has been published,

although the office of the Ombudsman conducted an informal fact-finding.

      36. The Department did set up a committee to consider issues of bias and discrimination,

and Ms. Conner volunteered to serve. Ms. Conner was the only black representative. She, alone

among the representatives, was the only graduate student asked to affirm in writing that none of

the facts and information disclosed during the investigation could be used in litigation (although

others were orally so informed.)

      Ms. Conner’s Disability Diagnosis (Dyslexia)

      37. In the spring of 2014, Ms. Conner became concerned that although able to do her

coursework, she was expending more effort than her colleagues in the program and taking more

time to do so. Suspecting that she might suffer from Attention Deficit/Hyperactivity Disorder

(“ADHD”) and/or a previously undiagnosed learning disability, she approached the Center for

Counseling and Psychological Health at UMass-Amherst for psychological assessment and

evaluation. Ms. Conner confided her concerns to Dr. Green and stated that she had sought testing.

      38. The Center informed Ms. Conner that formal testing revealed some evidence of delays

in cognitive processing speed consistent with ADHD, but any academic difficulties she was



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experiencing were personal to her and her situation, implying that she was essentially incapable of

performing the necessary academic work at the level required.

      39. Dissatisfied with this response, Ms. Conner was referred for a second opinion by

UMass Clinical Head Melissa L. Rotkiewicz. She found a clinical psychologist in private

practice, Laurie Ostendorf, Psy.D., for an objective external evaluation, which took place on

February 26, 2014. She determined on the basis of standard test instruments that Ms. Conner

suffered from both ADHD and dyslexia. With respect to the latter, Ms. Conner scored no better

than average on standardized tests, whereas a doctoral candidate with her level of education

would be expected to score far higher.

      40. Specifically, Dr. Ostendorf found that Ms. Conner had relative weaknesses in working

memory and executive function. The elements of dyslexia present included weaknesses in

phonological processing, reading fluency and comprehension, and math fluency.

      41. Dr. Ostendorf also found that Ms. Conner had in the course of her education

developed extensive coping strategies. As Ms. Conner had suspected, the implementation of these

strategies required substantial extra effort directed toward memorization and extensive rewriting.

      42. Apart from medication to ameliorate symptoms of ADHD, Dr. Ostendorf

recommended a number of assistive modalities ostensibly available through the Disability

Services Office at UMass Amherst, including audio texts, text-to-speech software and reading

pens to assist with reading; and voice recognition software to help with writing.

      43. Ms. Conner accordingly requested certain accommodations from the UMass-Amherst

Disability Services Office and was assigned a Consumer Manager. On June 26, 2014, the

manager informed Prof. Lisa Green, later a member of Ms. Conner’s Dissertation Committee, and

Dr. Frasier and Dr. Yu, who formed the committee overseeing Ms. Conner’s second Generals



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paper, that Ms. Conner required certain accommodations. In a private meeting, Dr. Frasier

demanded that Ms. Conner explain her specific disability, and insisted that the information be

generally shared in a department faculty meeting. Ms. Conner also discussed her diagnosis

personally with Drs. Green and Johnson.

         44. The knowledge of Ms. Conner’s disability apparently gave rise to a fixed

determination in the minds of the Committee members that she was incapable of assimilating

written information. This conclusion became the justification or excuse for refusing to provide

Ms. Conner with written feedback on her dissertation drafts of the sort that is routinely provided

to other Ph.D. candidates.

         45.    On or around August 19, 2016, after Drs Green and Johnson had threatened to cancel

Ms. Conner’s defense altogether, Ms. Conner requested disability accommodations and advocacy

from Ben Ostiguy, the new Associate Director of Disability Services at UMass-Amherst. Mr.

Ostiguy drafted a list of proposed accommodations in that meeting, but he never sent them to the

Department, nor did he reply to Ms. Conner’s follow-up request on September 2nd, 2016 via

email.

         46. On September 15, 2016, almost a month later, Mr. Ostiguy revealed to Ms. Conner in

a telephone call that he had never made a formal request for these accommodations, either orally

or in writing. He eventually explained that Prof. Kyle Johnson, the chair of Ms. Conner’s

dissertation committee, had rejected the accommodations in a telephone call as “not necessary.”

         47. The failure to accommodate Ms. Conner violated Title II of the Americans with

Disabilities Act. UMass/Amherst is subject to Title II, 42 U.S.C. § 12131(1)(B) (“any

department, agency, special purpose district, or other instrumentality of a State or States or local

government.”)



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      48. Ms. Conner filed an informal grievance with the University Equal Opportunity Office

(the “EOO”) against Mr. Ostiguy on November 23, 2016 for his failure to pursue her request for

reasonable and timely accommodations. On information and belief, no investigation was ever

conducted. Ms. Conner was never interviewed or even contacted by the EOO until February 28,

2017, when she was told that the investigation was still “ongoing.” On June 9, 2017, she was

notified that the investigation had been concluded. However, no findings were provided and no

action was identified or taken.

      49. Ms. Conner also included a further informal grievance to the EOO concerning Prof.

Green and Johnson’s apparent intercession to deny her written feedback with respect to the text of

her dissertation. She was informed that an investigation was conducted and received a report

stating that EOD did not find evidence of discrimination.

      50. The failure of the EOO to investigate and resolve Ms. Conner’s grievances violated

the written UNIVERSITY GRIEVANCE POLICY AND PROCEDURES (the “Grievance Policy”) as

follows:

            (a) The EEO did not solicit supporting data and documents from Ms. Conner, in
                violation of Grievance Policy II.B.1. (e);

            (b) The EOO failed to conduct an investigation and to prepare written findings of fact
                regarding disability services, Grievance Policy II.B.2. (a), (b);

            (c) The EOO failed to prepare a written report of its investigation regarding disability
                services, make recommendations, and serve its findings on “the appropriate vice
                chancellor or executive officer,” Grievance Policy II.B.3; and

            (d) The EOO failed to notify Ms. Conner of the position of the University concerning
                its findings regarding disability services.

      51. In summary, it appears that after six years of work, study, research and writing, in

which Ms. Conner fully demonstrated her academic and intellectual capacity to satisfy the

requirements for a Ph.D. in linguistics, and in fact satisfied them, the Dissertation Committee,

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and Dr. Johnson in particular, formed a fixed intention not to award her the degree by refusing to

allow her to defend her dissertation for reasons that were never explained, based on criticisms

and criteria which they refused to set down in writing, and which Ms. Conner was never given

the opportunity to address or satisfy. They did so as the result of a prohibited discriminatory

animus against her as an African-American woman, as shown by their hostility to her research

into AAE; their interference with her job prospects; and the provable pattern of discrimination

against female candidates in the department, see ¶¶ 30-33.

      52. Drs Johnson and Green also did so as the result of a prohibited discriminatory animus

against her on account of her disabilities, as shown by their refusal to entertain the

accommodations proposed by the Disability Office and their insistence on informing all faculty

members in the department of Ms. Conner’s diagnosis to her prejudice.


                                            DAMAGES

      53. The two-year postdoctoral fellowship awarded to Ms. Conner by the University of

Kentucky included an annual salary of $35,000, commensurate benefits, and a $5,000 research

allowance.

      54. The salary for Ms. Conner’s tenure-track position would have been no less than

$70,000 and would have continued, with at least cost-of-living increases, until the decision to

grant or deny tenure after seven years.

      55. Ms. Conner moved to Kentucky to take up her fellowship in August, 2016, renting

living accommodations on a year’s lease.

      56. The University of Kentucky withdrew its offer in November, 2016, when it became

apparent that Ms. Conner would be unable to defend her dissertation for the reasons described

above.

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     57.     After Ms. Conner brought her complaint against UMass Amherst at the MCAD, and

with the assistance of legal counsel, she was able to establish a new dissertation committee. She

now expects to defend the dissertation not later than 2019.

     58. As a consequence of the discriminatory actions of UMass-Amherst, including its

failure to accommodate her disabilities, Ms. Conner has suffered significant damages, viz.:

            (a) The loss of the two-year postdoctoral stipend associated with her fellowship at the
                University of Kentucky--$70,000 plus the value of associated benefits such as
                medical insurance. The cost to Ms. Conner of supplying her own health insurance
                over this two-year period has equaled approximately $4,200 per year.

            (b) Ms. Conner will be damaged in the amount of approximately $70,000 per year for
                each year that the beginning of her academic career as a tenure-track professor is
                postponed, based on an estimate of $70,000 per year for her salary as an assistant
                professor at the University of Kentucky, beginning in September, 2018.

            (c) When the Committee declined to hear Ms. Conner’s defense of her dissertation,
                she had already actually moved to Kentucky to take up the fellowship. When the
                fellowship was withdrawn, Ms. Conner was compelled to move back to her family
                home in Texas. Ms. Conner lost over two-thirds of the rent she had agreed to pay
                under her Kentucky lease--$10,800. She also incurred a total of $9,000 in moving
                costs, first from Massachusetts to Kentucky ($5,000), then from Kentucky to
                Texas ($4,000). Since August 2017, Ms. Conner has paid $200/mo. in storage
                costs--$1600 to date.

            (d) Emotional distress in an amount not less than $75,000, including the costs of
                psychotherapy necessary to mitigate such distress.

                                            COUNT I
                            Deprivation of Rights under Color of Law
                                  in Violation of 42 U.S.C. § 1983

     59.     The allegations of ¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count I by reference.

      60. The plaintiff Tracy Conner has a property interest in continuing her graduate studies

in linguistics at UMass Amherst, and may not be deprived of the same by a state actor without

due process of law.


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        61. By denying the plaintiff Tracy Conner a reasonable opportunity to complete and

defend her dissertation and a fair evaluation of her academic achievement, the defendant UMass-

Amherst deprived Ms. Conner of rights and privileges secured to her by the Fifth and Fourteenth

Amendments to the Constitution of the United States, in violation of 42 U.S.C. § 1983, to her

harm.

                                         COUNT II
                         Breach of the Americans with Disabilities Act

     62. The allegations of ¶¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count II by reference.

     63. By denying the plaintiff Tracy Conner the reasonable accommodation to which she

was entitled and which she required for the successful completion of her dissertation and a fair

evaluation of her academic achievement the University violated her rights under the Americans

with Disabilities Act, 42 U.S.C. § 12101, to her great harm and damage.

                                             COUNT III
                                   Prohibited Racial Discrimination

     64. The allegations of ¶¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count III by reference.

     65. In denying the plaintiff Tracy Conner a reasonable opportunity to complete and defend

her dissertation and a fair evaluation of her academic achievement, the defendant UMass-

Amherst was motivated by a prohibited discriminatory animus based on Ms. Conner’s race and

color, and thereby violated her rights under Title VI of the Civil Rights Act of 1964, , 42 U.S.C.

§ 2000d, to her great harm and damage.




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                                         COUNT IV
                              Prohibited Gender Discrimination

     66. The allegations of ¶¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count IV by reference.

     67. In denying the plaintiff Tracy Conner a reasonable opportunity to complete and defend

her dissertation and a fair evaluation of her academic achievement, the defendant UMass-

Amherst was motivated by a prohibited discriminatory animus based on Ms. Conner’s sex, and

thereby violated her rights under Title IX of the Civil Rights Act of 1964 as amended, 20 U.S.C.

§ 1681, to her great harm and damage.

                                          COUNT V
                                     Prohibited Retaliation

     68. The allegations of ¶¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count V by reference.

     69. The members of Ms. Conner’s Dissertation Committee, by withdrawing from the same

because she had brought an MCAD Complaint; by threatening that no member of the

Department would serve for fear of such complaints; and by demanding that she withdraw her

complaint and “carefully apologize” personally to the committee members, unlawfully retaliated

against her for her exercise of her protected right to complain of unlawful discriminatory actions

against her.

                                          COUNT VI
                                       Breach of Contract

     70. The allegations of ¶¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count VI by reference.




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     71. At all times relevant to this action the plaintiff Tracy Conner and the defendant

UMass-Amherst were mutually bound by an executory contract under which the University was

obligated to provide Ms. Conner with an opportunity to earn her degree based upon a fair and

objective evaluation of her academic performance and professional fitness, free of

discrimination.

     72. UMass-Amherst was further bound by its own policies and procedures prohibiting

discrimination on account of race, disability and gender, and providing for the prompt and fair

investigation and resolution of grievances concerning such discrimination.

     73. By refusing to permit Ms. Conner to defend her dissertation in the ordinary course on

the basis of supposed deficiencies in her submission unsupported by evidence and without the

opportunity to identify and correct such deficiencies, as the result of a discriminatory animus

against Ms. Conner based on her race, color and disability, and by denying her the due process

rights specifically guaranteed to her by its own codes, policies and regulations, which were

incorporated into and formed part of the contract between the parties, the University materially

breached such contract, to Ms. Conner’s great harm and damage.

                                          COUNT VII

                     Breach of Covenant of Good Faith and Fair Dealing

     74. The allegations of ¶¶ 1 – 58 of this Complaint are hereby realleged and incorporated

into this Count V by reference.

     75. At all times relevant to this action the plaintiff Tracy Conner and the defendant

University of Massachusetts Amherst were mutually bound by an executory contract which

included an implied covenant of good faith and fair dealing under which the University was




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obligated to provide Ms. Conner with an opportunity to earn her degree based upon a fair and

objective evaluation of her academic performance and professional fitness.

     76. By refusing to permit Ms. Conner to defend her dissertation in the ordinary course on

the basis of supposed deficiencies in her submission unsupported by evidence and without the

opportunity to identify and correct such deficiencies, as the result of a prohibited discriminatory

animus against Ms. Conner based on her race, color, gender and disability, and by denying her

the due process rights specifically guaranteed to her by its own codes, policies and regulations,

which were incorporated into and formed part of the contract between the parties, the University

breached its covenant of good faith and fair dealing, to Ms. Conner’s great harm and damage.

      WHEREFORE the plaintiff Tracy Conner demands judgment in an amount not less than

$600,000 against the defendant University of Massachusetts at Amherst, plus costs, reasonable

attorney’s fees, and statutory interest; and prays for such other and further relief to which she

may be entitled.

Respectfully submitted,

TRACY CONNER, Plaintiff
By her attorney,



_____/s/ David J. Fried______
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